     Case 1:10-mj-00015-DL   Document 14   Filed 03/22/10   Page 1 of 4




              UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Case No. 10-mj-15-01-DL

Steven Sterling,
A/K/A Dwayne C. Gousby



                 ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on March 22,

2010, for the purpose of determining whether to detain defendant,

Steven Sterling, a/k/a Dwayne C. Gousby, who has been charged in

a complaint with four gun charges, including felon in possession.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.         In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.            18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall
     Case 1:10-mj-00015-DL   Document 14   Filed 03/22/10   Page 2 of 4




consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer a preponderance of the evidence to prove risk

of flight.   See Patriarca, 948 F.2d at 792-93.         Facts necessary

to find that no combination will reasonably assure the safety of

any person and the community require satisfaction of the “clear

and convincing” standard.     18 U.S.C. § 3142(f)(2).

     In the case at hand, I have found probable cause to believe

that the offenses charged have been committed and that the



                                   2
     Case 1:10-mj-00015-DL   Document 14    Filed 03/22/10   Page 3 of 4




defendant has committed them.

     Here, I find that the government has met its burden with

regard to danger to the community.         Specifically, these are gun

charges with evidence from an informant, witnesses, recordings

and a co-conspirator that will very probably lead to conviction.

He has two prior gun convictions, violation of a restraining

order, and drug convictions.     He described his drug business in a

recorded conversation with the CI.

     I am satisfied from the representations and documents

offered during the hearing that no condition or combination of

conditions will reasonably assure the safety of the community.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant poses a

danger to the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.   The defendant shall be afforded a reasonable


                                   3
        Case 1:10-mj-00015-DL   Document 14   Filed 03/22/10   Page 4 of 4




opportunity for private consultation with defense counsel.                   On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

        SO ORDERED.


                                    ______________________________
                                    James R. Muirhead
                                    United States Magistrate Judge


Date:    March 22, 2010

cc:      Peter E. Papps, Esq.
         Jeffrey S. Levin, Esq.
         U.S. Marshal
         U.S. Probation




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